  Case 10-37875-KRH             Doc 5 Filed 11/17/10 Entered 11/18/10 00:56:30                        Desc Imaged
                                    Certificate of Service Page 1 of 2
                                       United States Bankruptcy Court
                                             Eastern District of Virginia
                                                 Richmond Division
                                                701 East Broad Street
                                                Richmond, VA 23219


                                                             Case Number 10−37875−KRH
                                                             Chapter 13
In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   John Edward Small Jr.
   2408 Bainbridge Street
   Richmond, VA 23225
Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s).,(if any):
   Debtor: xxx−xx−2589
Employer Tax−Identification (EIN) No(s).(if any):
  Debtor: NA


                                NOTICE OF POSSIBLE DISMISSAL
                     PURSUANT TO LBR 3015−2 CHAPTER 13 PLAN REQUIREMENTS


TO:           DEBTOR OR DEBTOR'S COUNSEL

You have filed a petition with the office of the Clerk of the United States Bankruptcy Court, Eastern District of
Virginia, on November 12, 2010. Pursuant to Local Bankruptcy Rule 3015−2, please be advised that the following
document(s) are missing and must be filed within fourteen (14) days of the petition date, November 26, 2010.

Failure to timely file the missing document(s) or to timely seek an extension of time, will result in the automatic
dismissal of the bankruptcy case without further notice.

**Missing Document(s):
Chapter 13 Plan



                                                             William C. Redden
                                                             Clerk, United States Bankruptcy Court
Date:    November 15, 2010
                                                             /s/ Diane Jones
                                                             Deputy Clerk
[30152vDec2009]
         Case 10-37875-KRH               Doc 5 Filed 11/17/10 Entered 11/18/10 00:56:30                              Desc Imaged
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                                CERTIFICATE OF NOTICE
 District/off: 0422-7                  User: jonesd                       Page 1 of 1                          Date Rcvd: Nov 15, 2010
 Case: 10-37875                        Form ID: 30152                     Total Noticed: 1

 The following entities were noticed by first class mail on Nov 17, 2010.
 db           +John Edward Small, Jr.,   2408 Bainbridge Street,   Richmond, VA 23225-3936
 The following entities were noticed by electronic transmission.
 NONE.                                                                                                               TOTAL: 0
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Nov 17, 2010                                       Signature:
